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1
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
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                                                  )   Case No. 2:20-cv-02140-SB-JPR
5                                                 )
        MELISSA MEYER, individually               )
6
       and on behalf of all others similarly      )
7      situated,                                  )
       Plaintiffs,                                )
8                                                     ORDER TO DISMISS WITH
       v.                                         )   PREJUDICE AS TO PLAINTIFF
9      DIRECT RECOVERY SERVICES                   )   AND WITHOUT PREJUDICE AS
       LLC, a Corporation; DOES 1-10                  TO CLASS CLAIMS.
10                                                )
       Inclusive,                                 )
11     Defendant                                  )
12                                                )
13                                                )
14

15
           IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,

16
     this matter is dismissed in its entirety with prejudice as to the named Plaintiff, and

17
     without prejudice as to the Putative Class alleged in the complaint, pursuant to

18
     Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own

19
     costs and attorneys’ fees.

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     Dated: April 24, 2021
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                                                           Stanley Blumenfeld, Jr.
25                                                        United States District Judge
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                                         Order to Dismiss - 1
